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U.S. DISTRICT CO
IN THE UNITED STATES DISTRICT COURT ~~~”

FOR THE SOUTHERN DISTRICT OF GEORGIA on19 Aug 29 PH 9: 46
DUBLIN DIVISION

 
  
 

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UNITED STATES OF AMERICA * COREE GA.
*
“ ‘ CR 302-005-3
*
ANTHONY V. CONEWAY os
ORDER

In the captioned criminal matter, Defendant Anthony V.

Coneway has filed pro se motions to reduce his sentence. The
Government opposes the motions. The Court resolves the matter as
follows.

Defendant was convicted by a federal jury in 2002 on one count
of distribution of cocaine hydrochloride; one count of
distribution of 50 grams or more of cocaine base (“crack cocaine”);
and one count of conspiracy to possess with intent to distribute
and to distribute less than 500 grams of cocaine hydrochloride and
50 grams or more of crack cocaine. At sentencing on April 24,
2003, the Presentence Inmaerigaciion Report (“PSI”) attributed 78.6
grams of crack cocaine to Defendant. At that time, this amount of
crack cocaine carried a statutory minimum sentence of ten years
and statutory maximum sentence of life imprisonment. 21 U.S.C. §
841(b) (1) (A) (2003). The Court determined Defendant’s guideline

range to be 121 to 151 months imprisonment. Defendant was

 
 

 

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sentenced to serve 144 months imprisonment on each count, to be
served concurrently and to be followed by five years of supervised
release.

On June 5, 2008, the Court granted Defendant’s motion for a
reduction of sentence under 18 U.S.C. § 3582(c) (2) based upon
Amendment 706 to the United States Sentencing Guidelines, which
lowered the base offense level assigned to each threshold quantity
of crack cocaine by two levels. Amendment 706 reduced Defendant’s
guideline range to 97 to 121 months. The Court reduced Defendant’s
sentence to 108 months, which was below the mandatory minimum range
prescribed by statute for the crack cocaine offense. The
Government did not appeal.

On October 8, 2010, Defendant was released from federal
custody. On June 27, 2014, while on supervised release, Defendant
was arrested in Arizona after state authorities discovered
approximately 662 pounds of marijuana in a tractor-trailer driven
by Defendant. This Court issued a warrant to be lodged as a
detainer with the Arizona state authorities for violation of
Defendant’s supervised release. Defendant was subsequently
sentenced to a term of imprisonment in the State of Arizona. Upon
his release from state custody, Defendant was arrested and
transported to this District. On December 17, 2018, this Court
revoked Defendant’s term of supervised release and sentence him to

24 months of imprisonment.

 
 

 

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At present, Defendant has filed two motions for sentence
reduction. Both motions effectively seek application of the Fair
Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372 (2010),
which was signed by the President on August 3, 2010 - one month
prior to Defendant’s release from federal prison on the original
drug offenses.

The Fair Sentencing Act reduced the crack-to-powder cocaine
disparity from 100-to-1 to 18-to-1. Section 2 of the Fair
Sentencing Act increased the quantities of crack cocaine necessary
to trigger the statutory mandatory minimums for violations of 21
U.S.C. § 841. Section 2, however, did not apply retroactively
until Congress recently passed the First Step Act of 2018, Pub. L.
No. 115-391, 132 Stat. 5194. Section 404 of the First Step Act
makes retroactive the modified statutory penalties of Section 2 of
the Fair Sentencing Act, allowing courts to reduce sentences as if
Section 2 were in effect at the time the covered offense was
committed.

The Fair Sentencing Act also instructed the United States
Sentencing Commission to conform the applicable guideline
provisions. Accordingly, the Commission promulgated conforming
emergency Guideline amendments, effective on November 1, 2010; a
permanent version of those Guidelines took effect on November 1,

2011. These Amendments were promulgated after Defendant had

 
 

 

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completed his term of imprisonment for distribution of crack
cocaine.

At his revocation hearing in December 2018 and again in his
present motions, Defendant contends that he never received the
benefit of the 18-to-1 ratio that came about as a result of the
Fair Sentencing Act. A court, however, may only modify a term of
imprisonment a) if the term of imprisonment is based upon a
sentencing range that has subsequently been lowered by the
Sentencing Commission, 18 U.S.C. § 3582(c) (2), or b) “to the extent
otherwise expressly permitted by statute,” 18 U.S.C. §
3582 (c) (1) (B). Importantly, the term of imprisonment that
Defendant is serving is not based upon his distribution of crack
cocaine. Rather, it is a separate and distinct offense, i.e., a
violation of supervised release. The sentencing range upon which
it is based has not been subsequently lowered by the Sentencing
Commission, and there is no other statute that would permit a
reduction of his sentence. To the extent that Defendant is seeking
application of the lower sentencing guidelines promulgated
pursuant to the Fair Sentencing Act, the United States Sentencing
Commission has stated the following with respect to the application
of amended guidelines:

Only a term of imprisonment imposed as part of the

original sentence is authorized to be reduced under this

section. This section does not authorize a reduction in

the term of imprisonment imposed upon revocation of
supervised release.

 
 

 

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See U.S.S.G. § 1B1.10 cmt. n.7(a) (emphasis added).

In short, Defendant is not entitled to a sentence reduction
through application of the Fair Sentencing Act, the amended
guideline ranges promulgated thereunder, or the First Step Act.
These changes in the law simply have no effect on the term of
imprisonment he is currently serving based upon revocation of
supervised release. Accordingly, Defendant’s motions for
reduction of sentence (doc. nos. 544 & 546) are DE

ORDER ENTERED at Augusta, Georgia, this AA day of August,

2019.

 

UNITED STAVES DISTRICT JUD

 
